              Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 1 of 28




 1
                                                                     The Honorable Barbara J. Rothstein

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
     GERALD JACKSON, ROSLYN JACKSON
10   DEAN MELLOM, JON PERRIN and JULIE                         NO. 2:19-cv-01281-BJR
     PERRIN, individually and on behalf of all
11
     others similarly situated,
12                                                             PLAINTIFFS’ MOTION TO STRIKE
                                      Plaintiffs,
                                                               ALIERA’S ANSWER AND ENTER
13       v.                                                    DEFAULT JUDGMENT AFTER
14   THE ALIERA COMPANIES, INC., a                             CLASS CERTIFICATION OR, IN THE
     Delaware corporation; ALIERA                              ALTERNATIVE, MOTION FOR
15
     HEALTHCARE, INC., a Delaware                              SUMMARY JUDGMENT

16   corporation; TRINITY HEALTHSHARE,
     INC., a Delaware corporation,
17
                                      Defendants.
18
                                            I. INTRODUCTION 1
19
              Defendant Aliera is presently unrepresented in this matter. Ninth Circuit caselaw
20
     is clear – if a corporate defendant is unrepresented by counsel, the Court may strike its
21
     Answer and enter a default judgment, after class certification, in favor of the Plaintiff
22
     Class. The Court provided Aliera with sufficient time to obtain substitute counsel before
23
     the withdrawal of its former counsel, Burr Forman. See Dkt. No. 150, p. 2. Aliera failed
24

25
         1 Plaintiffs’ counsel certifies that they met and conferred about this Motion and the Motion for Relief
26
     from Deadline or Telephonic Hearing with Aliera’s counsel at Burr Forman before their withdrawal from
     this case. See Hamburger Decl., ¶19.
                                                                                    SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                              SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                              3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 1                                SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                              TEL. (206) 223-0303 FAX (206) 223-0246
              Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 2 of 28




 1   to take action and is now unrepresented. The Court should strike Aliera’s Answer (Dkt.
 2   No. 63), certify the proposed class and enter a default judgment.
 3           Should Aliera appear with new counsel, the Court should proceed to adjudicate
 4   this Motion for Summary Judgment on the merits:
 5           Plaintiffs were sold “AlieraCare,” an illegal health insurance plan created by
 6   Defendants The Aliera Companies, Inc., Aliera Healthcare, Inc. (collectively “Aliera”)
 7   and Trinity Healthshare, Inc. (“Trinity”). In marketing, selling and administering these
 8   plans, Aliera represented to Plaintiffs that Trinity was a “recognized” health care sharing
 9   ministry (“HCSM”) and therefore exempt from all federal and state laws governing
10   health insurance.
11           This was simply false, and Aliera knew it: the federal and state statutes defining
12   HCSMs provide that an entity can qualify as an HCSM only if it has “been in existence at
13   all times since December 31, 1999” with medical expenses of its members having been
14   “shared continuously and without interruption since at least December 31, 1999.” 26
15   U.S.C. § 5000A(d)(2)(B)(ii); RCW 48.43.009. Aliera insiders created Trinity on June 27,
16   2018, rendering it impossible to fall within the HCSM exemption. 2 See Dkt. No. 62, ¶61;
17   Dkt. No. 77, Exh. B, p. 13 (supplemental admission to RFA No. 10). No governmental
18   entity ever “recognized” that Trinity was an HCSM.
19           That Trinity never met the statutory exemption did not deter Aliera from
20   promoting, selling, and administering the health plan to Plaintiffs as being part of a
21   “Health Care Sharing Ministry recognized pursuant to 26 U.S.C. §5000A(d)(2)(B).” See
22   Perrin Decl., Exhs. D, E. Aliera sold and administered the plans, while ignoring the array
23
         2 Nor did Trinity limit its participation to members who “share a common set of ethical or religious
24
     beliefs and share medical expenses among members in accordance with those beliefs” as independently
     required by state and federal law. 26 U.S.C. § 5000A(d)(2)(B)(ii); RCW 48.43.009. See Dkt. No. 55, ¶4, Dkt.
25
     No. 40-4, p. 34 of 42 (Washington Office of the Insurance Commissioner (“OIC”): “Trinity’s contradictory
     representations about the nature of its religious ethic to State and Federal government agencies and to
26
     consumers indicates it either does not understand its religious motivation, or fails to communicate a
     consistent message about its religious ethic to State and Federal regulators and its own members.”).
                                                                                    SIRIANNI YOUTZ
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     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                              3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 2                                SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                              TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 3 of 28




 1   of carefully crafted federal and state laws designed to protect Washington consumers in
 2   the health insurance marketplace. The plans were sold without the necessary surplus,
 3   reserves, and reinsurance, designed to make sure that the AlieraCare products would
 4   have sufficient funds to pay out the benefits promised. Aliera also ignored the baseline
 5   package of essential health benefits required under Washington law, the law’s
 6   protections for people with pre-existing conditions, and the required loss ratio that
 7   ensures that health insurers spend the vast majority of premiums collected on members’
 8   health benefits, among other requirements.
 9          Aliera’s sham HCSM plan funneled hundreds of millions of dollars in monthly
10   premiums into Aliera’s coffers, a for-profit and privately held enterprise owned by the
11   Moses family. Consumers paid hundreds – or thousands – of dollars per month for
12   AlieraCare. Under Aliera’s original agreement with Trinity, over 80% of the premiums
13   paid by these members are actually sent to the privately held, for-profit Aliera as
14   “administrative fees” or paid out in brokers’ commissions, with less than 20% of member
15   premiums being used to pay members’ health claims. 3 Dkt. No. 57-3, p. 22 of 42. See also
16   Luria Decl., ¶11 (in 2021, only about 30% of the monthly payments from consumers went
17   to pay for medical expenses). Aliera’s scheme could never cover the medical expenses it
18   promised it would.
19           This fraud was perfectly designed to dupe vulnerable people: Aliera created
20   products that look exactly like traditional health insurance and sold them under the guise
21   of religion, falsely claiming that Trinity was a “ministry” designed to assist members in
22   their time of medical need. By ignoring the requirements of state and federal law
23   governing health insurance, and, in fact, disclaiming any legal responsibility to pay any
24

25
        3   Washington law requires that at least 74% of premiums be used to pay claims. RCW 48.20.025;
26
     RCW 48.44.017; RCW 48.46.062. The ACA raised this floor to require an 80% medical loss ratio for
     individual policies. 42 U.S.C. § 300gg-18(b)(1)(A)(ii). Defendants turned this requirement on its head.
                                                                                 SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                           3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 3                             SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                           TEL. (206) 223-0303 FAX (206) 223-0246
              Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 4 of 28




 1   claims, Aliera turned the sham HCSM into a money machine that lined Aliera’s – and its
 2   founders’ – pockets with tens if not hundreds of millions.
 3            Like all Ponzi schemes, this one has collapsed. On July 8, 2021, Trinity (now called
 4   Sharity Ministries, Inc.) entered bankruptcy and under its current plan it will be
 5   liquidated. Luria Decl. ¶5. There is no money left in Trinity to pay any unpaid medical
 6   bills. See Hamburger Decl., Exh. 17, p. 81 of 86. 4 On October 11, 2021, Aliera recorded
 7   a Deed of Assignment for Benefit of Creditors (“Aliera ABC”) in Georgia to wind down
 8   its business. Id., Exh. 1. 5 Aliera’s counsel, Burr Forman, have withdrawn from this
 9   litigation, and no replacement counsel has appeared. See Dkt. No. 150. Ultimately, the
10   remedies for consumers like the Plaintiffs now lie in the bankruptcy court and the Aliera
11   ABC process.
12            Plaintiffs seek an immediate adjudication of their claims and class certification so
13   that the Washington class may be considered creditors in the Aliera ABC process.
14   Accordingly, they move to expedite their motion and request a telephonic hearing, and
15   seek an immediate summary judgment for both rescission and reformation damages,
16   Consumer Protection Act (“CPA”) treble damages, attorney fees and litigation costs, so
17   that they may protect their interests and that of other Washington state Trinity/Sharity
18   members in the Aliera ABC and pursue those ultimately responsible for this fraud.
19
                                       II. UNDISPUTED FACTS
20
     A.       Aliera Was Created By the Family of a Convicted Felon and Entered
21            Into a Relationship to Sell Healthcare Plans it Marketed as HCSM
              Plans
22
              Timothy Moses was convicted of felony securities fraud and perjury in federal
23
     court in Georgia. See United States v. Moses, 219 Fed. App’s 847 (11th Cir. 2017) (affirming
24

        4 All exhibits identified by number in this Memorandum are attached to the Declaration of Eleanor
25
     Hamburger; and exhibits identified by letter are attached to the Declaration of Jon Perrin.
26        5
          The ABC Deed reveals that virtually no funds remain in Aliera, but that over $6.6 million in
     “Shareholder loans” were provided by Aliera. Hamburger Decl., Exh. 1, p. 15 of 25.
                                                                               SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 4                           SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                         TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 5 of 28




 1   his conviction). He was sentenced to over six years in prison. Exh. 3, at 8-9, ¶49. After he
 2   was released, he was subject to supervision for five years. Exh. 5. Shortly after his release,
 3   Mr. Moses misled his supervising probation officer about his financial affairs and failed
 4   to disclose bank account information and new lines of credit. Id. Mr. Moses’ supervised
 5   release was terminated in April 2015, approximately six months before Aliera’s creation.
 6   Id.
 7          Mr. Moses’s wife, Shelley Steele, incorporated Defendant Aliera on December 18,
 8   2015 in Delaware. It is a for-profit corporation with headquarters in Atlanta, Georgia.
 9   Exh. 6. Aliera’s original scope of business was “to engage in the business of providing all
10   models of Health Care to the general public,” and “[t]o buy, own or acquire other
11   businesses, to market and in any way improve the commercial application to the
12   betterment and pecuniary gain of the corporation and its stockholders….” Id. It later
13   amended its Articles to include a broader scope of business: “The purpose for which the
14   Corporation is formed is to engage in any lawful act or activity for which corporations
15   may be organized…” Exh. 7. Aliera has never been and does not claim to be an HCSM.
16          After Aliera’s formation, Timothy Moses convinced Anabaptist Healthshare, a
17   small nonprofit with a letter of recognition as an HCSM from the federal government, to
18   allow Aliera to market HCSM plans through a subsidiary that Anabaptist would create
19   solely for that purpose, Unity Healthshare. Exh. 3, at 4-5, ¶¶18-24. Mr. Moses admitted
20   in sworn testimony that he played a substantial role in the relationship between
21   Anabaptist and Aliera. Exh. 4, ¶¶20-27, and its attached Exhibits A and B (signing as
22   “Executive Director” of Aliera).
23          The relationship between Aliera and Anabaptist soured by May 2018 when
24   Anabaptist discovered that Mr. Moses had misappropriated Unity funds. Exh. 3, at 13,
25   ¶71. Anabaptist terminated its agreement with Aliera on August 10, 2018, and the parties
26   sued each other in state court in Georgia, Aliera Healthcare v. Anabaptist Health Share, et al.,

                                                                            SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                      SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                      3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 5                        SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                      TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 6 of 28




 1   No. 2018-cv-308981 (“Georgia Litigation”).        See generally, Aliera Healthcare, Inc. v.
 2   Anabaptist Healthshare, 844 S.E. 2d 268 (Ga. App. 2020).
 3
     B.     Aliera Creates Trinity As a Sham HCSM That It Controlled In Order to
 4          Continue Selling Healthcare Plans

 5
            With the prospect of Aliera’s relationship with Anabaptist coming to an end,

 6
     Aliera created Trinity Healthshare, Inc. as a Delaware nonprofit entity on June 27, 2018.

 7
     Exh. 11, at 5. Aliera installed William Thead, a former employee and close personal friend

 8
     of the Moses family, as Trinity’s CEO. Dkt. No. 63 (Aliera’s Answer), p. 19 of 39, ¶¶62,

 9
     63. Trinity initially had only one other board member – Mr. Thead’s brother. Exh. 12, at

10
     7 and 33 of 43. Trinity had no members when it was formed. Dkt. No. 63, at 19, ¶65. On

11
     or about July 3, 2018, Aliera’s attorney at Burr Forman filed an application with the IRS

12
     on behalf of Trinity seeking recognition as a 501(c)(3) tax exempt entity. Dkt. No. 22-1, p.

13
     2 of 77. Trinity represented to the IRS that it was applying for 501(c)(3) status as “a newly

14
     formed entity,” and answered “no” to the question, “are you a successor to another

15
     organization?” Id., p. 19 of 77 (answer to Part VII, question 1).

16
            In August 2018, Aliera and Trinity entered into a Management and Administration

17
     Agreement. Exh. 2. That Agreement was not the result of an arms-length transaction ― it

18
     was signed on behalf of Trinity by Mr. Thead, the Moses family’s hand-picked person to

19
     lead Trinity. Id., at 11. Under that Agreement, Trinity delegated to Aliera the exclusive

20
     right to design, market, enroll, administer (either directly or through a third-party

21
     administrator), and prepare financial and tax statements for the joint Aliera/Trinity

22
     healthcare plans. Id., at 4-5. Under that Agreement, Aliera was to have exclusive control

23
     over the member list, and all member payments were to be made directly to a bank

24
     account in Aliera’s name. Id., at 4, ¶2.e., and at 5, ¶3.c. Aliera would retain 65% of the

25
     total member payments for the type of plans the Perrins purchased. Of the 35% that

26
     would be allotted to Trinity, only 44.3% of that amount (just 15.5% of the amount


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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 6                          SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                        TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 7 of 28




 1   members paid) would be placed in a reserve account, or “Sharebox” for payment of
 2   members’ claims. Id., Exh. B. Trinity reported to the IRS that in 2019 it paid Aliera
 3   $32,138,105 for “a variety of management services.” Exh. 13, at 31 of 41.
 4          In 2019, Aliera restructured and became The Aliera Companies, Inc. It created four
 5   subsidiaries – Adevevo LLC, Ensurian Agency LLC, Tactic Edge Solutions, LLC, and
 6   USA Benefits & Administrators LLC - each of which entered into separate contracts with
 7   Trinity that replaced the August 2018 Management Agreement. See Hamburger Decl.,
 8   ¶13. These new agreements became effective on January 1, 2020. Id. Under these
 9   agreements, Aliera’s subsidiaries continued to control the sale of the Trinity plans,
10   administration of claims, and all communications with members. Id.
11
     C.     Washington’s Insurance Commissioner Ordered Aliera to Cease
12          Selling Trinity Plans In Washington, and Concluded With Finality that
            the Healthcare Plans Were Illegal Insurance Under Washington Law
13
            Aliera began selling the Trinity plans in Washington in late 2018. Approximately
14
     3,058 Washington residents purchased Aliera’s Trinity plans. Dkt. No. 77, p. 15-16 of 98,
15
     pp. 63-64 of 98 (Responses to Requests for Admission); but see Luria Decl., ¶8 (2,832
16
     Washington residents were enrolled in Aliera/Trinity plans). After Washington’s Office
17
     of the Insurance Commissioner received dozens of complaints about Aliera and Trinity,
18
     it concluded that Trinity was not a legitimate HCSM and was acting as an unauthorized
19
     insurer in violation of RCW 48.05.030. Exh. 8, at 37 of 41. As a result, the OIC issued Cease
20
     and Desist Orders on May 13, 2019 to both Aliera and Trinity, prohibiting them from
21
     soliciting or selling the healthcare plans to Washington residents. Exhs. 14, 15.
22
            On December 20, 2019, Trinity settled its dispute with the OIC by agreeing it
23
     would not sell its plans to Washington residents and agreeing to pay a $150,000 fine. Dkt.
24
     No. 57-19. It did not contest the OIC’s findings and conclusions. Aliera, however,
25
     contested the OIC’s findings. On November 13, 2020, after substantial discovery and
26
     briefing on cross motions for summary judgment, the administrative law judge

                                                                          SIRIANNI YOUTZ
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                                                                    SPOONEMORE HAMBURGER PLLC
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 7                      SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
              Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 8 of 28




 1   concluded that the Trinity products it sold qualified as “insurance” under the
 2   Washington definition in RCW 48.01.040, and that Trinity did not meet the criteria for an
 3   exemption from insurance regulation as an HCSM under RCW 48.43.009 and 26 U.S.C.
 4   § 5000A(d)(2)(B)(ii). 6 Exh. 9.
 5
     D.       Plaintiffs Purchased AlieraCare and Did Not Receive the Promised
 6            Benefits

 7
              All Plaintiffs purchased an AlieraCare plan during the class period. Dkt. No. 72-

 8
     76. The AlieraCare plans were advertised as comparable to catastrophic health insurance

 9
     that “allow[s] members to achieve comparable cost assurances for catastrophic healthcare

10
     services (including preventative care and immediate access to doctors through office

11
     visits, urgent care, and telemedicine at a much lower cost …“ Exh. 10, at 22 of 31. The

12
     representations made by Aliera to Plaintiff Jon Perrin are typical of those made to all

13
     Washington AlieraCare enrollees.

14
              Before Mr. Perrin purchased the plan, an Aliera Senior Sales Representative sent

15
     Mr. Perrin a “Sell Sheet” that laid out the coverage and prices of various healthcare plans.

16
     The “Sell Sheet” showed that the Premium plan was designed to “include” costs for

17
     hospitalization, in-patient surgery, out-patient surgery, and emergency room; to cover

18
     wellness and preventive care and telemedicine at 100%, and to cover x-rays, primary care,

19
     specialty care, and urgent care with consult fees or copays. Declaration of Jon Perrin,

20
     Exh. C. The sales representative described the plan as “an affordable alternative to the

21
     ACA” that was “not subject to an enrollment period.” Perrin Decl., Exh. A. Mr. Perrin

22
     signed an enrollment form agreeing that Aliera could immediately bill his credit card for

23
     the first monthly fee ($203.67 for the Trinity portion, plus $378.24 for the Aliera portion

24

25        6 After appealing this decision to Thurston County Superior Court, Aliera and the OIC reached a
     settlement which left the Final Order of the ALJ in place and required Aliera to pay a fine of $100,000.
26
     Exh. 18. To date, Aliera has not paid the OIC’s fine. See Exh. 1, p. 10 of 25. The ALJ Order is now final after
     a fully litigated adjudication.
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     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                                SPOONEMORE HAMBURGER PLLC
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 8                                   SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                                 TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 9 of 28




 1   of the plan), and the one-time application fees of $125, and agreeing that Aliera could
 2   collect the monthly amount as a “recurring monthly transaction.” Id., ¶4, Exh. D. The
 3   enrollment form stated:
 4
            “Hospitalization, Emergency Room, In-Patient, and Out-Patient procedures
 5          are covered, once the [MSRA] has been met. The Per Incident limit is $500,000
            sharing amount, capped at $1,000,000 lifetime sharing amount.”
 6

 7   Id., at 1. The form affirmatively misrepresented to the Perrins that “up to 40% of your

 8   member contribution goes towards the administration of this plan and other general

 9   overhead costs to successfully carry out the duties of administering these services.” Id.,

10   at 6 of 7. The form did not reveal that Trinity and Aliera had agreed to place only 15.5%

11   into an account for payment of claims, or that they in fact were deducting approximately

12   70% of member payments for payment to Aliera entities and to Trinity for

13   “administrative” costs. See Luria Decl., ¶11.

14          After signing the enrollment form, Mr. Perrin received a membership card and the

15   Member Guide for a healthcare plan for himself and his wife Julie.                         Perrin Decl.,

16   Exhs. E, F. See also Dkt. Nos. 72-77. The Member Guide incorporated the same table as

17   included in the Sell Sheet. Compare, Exh. C and Exh. F, p. 41. 7 The Guide instructed that

18   the members should present their membership card to their health care providers when

19   they receive medical services. Exh. F, at 8 (“Keep your Member Card with you at all

20   times; …”), and at 14 (“Upon arrival at a clinic, present your Membership Card and one

21   photo ID.“) The providers were to send a bill directly to Aliera, which then determined

22   whether and how much will be paid. Exh. 10, at 16 of 31. (“How does my doctor or

23   hospital get paid? Once your medical provider has properly processed your medical

24

25

26      7  Citations to the Perrins’ Member Guide are to the page numbers printed on the bottom of each page
     of the Guide.
                                                                                 SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 9                             SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                           TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 10 of 28




 1   claim to be shared by the membership, the medical need is adjudicated and payment is
 2   issued directly to the provider.”)
 3          The Perrins’ membership was active from January 1 – December 31, 2019. Perrin
 4   Decl. ¶8. The Perrins had several medical claims that were submitted to Aliera, but Aliera
 5   did not pay them. Jon Perrin had several phone calls with Aliera representatives who
 6   told him that Aliera would pay a medical provider $1,531 for $9,074 billed for Julie’s
 7   surgery. Id., ¶6. Nevertheless, Aliera never made the payment, and the Perrins paid the
 8   $1,531 that Aliera represented it would pay in order to keep the bill from going to
 9   collections. Id. By early 2020, the Perrins realized that AlieraCare was a scam, and
10   demanded the money they had paid in premiums to be returned to them. Id., ¶7. Aliera
11   refused. Id., Exh. J. In total, the Perrins paid $6,982.92 in premiums plus $125 in one-time
12   application fees. Luria Decl, ¶7; Perrin Decl., ¶8. As noted above, the other named
13   plaintiffs had similar experiences. See Dkt. Nos. 72-77, 117.
14          The Perrins were added as Plaintiffs in this case on June 10, 2020. Dkt. Nos. 56, 57.
15   This Court ordered their claim to arbitration on August 18, 2020. Dkt. No. 105. The Court
16   later ordered arbitration of the remaining Plaintiffs’ claims on October 6, 2020. Dkt.
17   No. 131. Plaintiffs moved together for the arbitrator to determine whether he had
18   jurisdiction to hear the dispute. See Dkt. No. 144-1. On September 2, 2021, the arbitrator
19   held that he lacked jurisdiction to hear Plaintiffs’ claims, and returned the matter to this
20   Court. Id.
21
     E.     Trinity Is Bankrupt and Aliera Is Going Out of Business, Raising Fears
22          that Aliera’s Principals May Be Hiding Assets

23
            Trinity changed its name to Sharity Ministries, Inc. in 2020, and filed for

24
     bankruptcy as “Sharity” on July 8, 2021. In re Sharity Ministries, Inc., Case No. 21-11001

25
     (JTD). Luria Decl., ¶4. At the time of the bankruptcy filing, 60% of member payments

26
     went to Aliera, and 10% went to Trinity for administrative expenses, leaving only 30% of


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     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                     SPOONEMORE HAMBURGER PLLC
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 10                      SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                     TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 11 of 28




 1   the members’ payments to be placed into a “Sharebox” account for payment of members’
 2   medical claims. Luria Decl., ¶11. Trinity had assets of less than $4 million (apart from
 3   $23.6 million owed to it by Aliera), while unpaid member claims totaled over $300
 4   million. Hamburger Decl., Exh. 17, pp. 14, 81 of 86. Although filed under Chapter 11 of
 5   the Bankruptcy Code, Trinity will not emerge from bankruptcy. It filed a Plan for
 6   liquidation on October 1, 2021 and will go out of business. Id., p. 10 of 86; Luria Decl., ¶5.
 7          Aliera recorded a deed of assignment for the benefit of creditors on October 11,
 8   2021, and is also going out of business. Hamburger Decl., Exh. 1. The assignment reflects
 9   virtually no assets and substantial debts. Id. It also shows a “loan” of more than $6.6
10   million by Aliera to its “shareholders.” Id., p. 15. Plaintiffs’ counsel believe Aliera’s
11   insiders may hold significant unaccounted-for amounts that members paid for coverage
12   of their healthcare costs. Through its attempts to enforce a meritless arbitration clause,
13   Aliera succeeded in delaying resolution of this litigation for well over a year, giving its
14   insiders time to squirrel away misappropriated assets. Plaintiffs require an immediate
15   judgment if they are to have any chance of obtaining a recovery on their claims. Time is
16   of the essence, and judgment should be entered as soon as possible.
17
     F.     No Counsel Presently Represents Aliera in this Matter
18          The Court held a telephonic hearing on October 6, 2021 on Plaintiffs’ pending
19   Motion to lift the stay (Dkt. No. 143) and Burr Forman’s motion to withdraw as counsel
20   for Aliera (Dkt. No. 146). As a result of the hearing, the Court both lifted the stay and
21   allowed Aliera fifteen (15) days to retain substitute counsel. At the expiration of 15 day,
22   the Court released Burr Forman from any ongoing representation of Aliera in this matter.
23   Dkt. No. 150. Burr Forman officially withdrew on October 21, 2021. No substitute
24   counsel has made an appearance on behalf of Aliera.                  Accordingly, Aliera is
25   unrepresented in this matter.
26



                                                                           SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                     SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                     3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 11                      SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                     TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 12 of 28




 1          In order to reach an immediate judgment as to Aliera, Plaintiffs move for summary
 2   judgment and class certification. If Aliera retains counsel, and responds to this motion,
 3   the Court may issue a substantive ruling on both summary judgment and class
 4   certification. If Aliera remains unrepresented, the Court should certify the proposed class
 5   consistent with Rule 23 requirements, strike Aliera’s Answer and enter a default
 6   judgment in favor of the certified class. Plaintiffs request an expedited telephonic hearing
 7   in order to reach a judgment without further delay.
 8
                                         III. ARGUMENT
 9
     A.     Aliera’s Answer May be Stricken and Default Judgment Entered If
10          Aliera is Unrepresented.

11          “When a corporation fails to retain counsel to represent it in an action, its answer

12   may be stricken and a default judgment entered against it.” Rojas v. Hawgs Seafood Bar,

13   Inc., No. C08-03819 JF (PVT), 2009 U.S. Dist. LEXIS 41435, 2009 WL 1255538, at *1 (N.D.

14   Cal. May 5, 2009). Where, as here, a corporate defendant is unrepresented, a permissible

15   sanction is default. Emp. Painters' Tr. v. Ethan Enters., 480 F.3d 993, 998 (9th Cir. 2007).

16   Before the default may be entered, the Court must first strike the corporate defendant’s

17   answer. Garis v. Gypsum Res. Materials, LLC, No. 2:16-cv-02534-APG-VCF, 2017 U.S. Dist.

18   LEXIS 214236, at *2-3 (D. Nev. Nov. 20, 2017); Pac. Elements, LLC v. Interface Protein Tech.,

19   Inc., No. 1:16-cv-01247-LJO-EPG, 2017 U.S. Dist. LEXIS 8388, at *4-5 (E.D. Cal. Jan. 18,

20   2017) (Magistrate recommended that the defendant’s answer be stricken and default

21   entered since the corporation was unrepresented); SEC v. Neman, No. CV 12-03142-BRO

22   (PLAx), 2016 U.S. Dist. LEXIS 185326, at *3-4 (C.D. Cal. Apr. 26, 2016) (striking a

23   corporation’s answer for failure to retain new counsel after prior counsel withdrew and

24   Court advised defendant corporation to obtain new counsel). If Aliera does not appear

25

26



                                                                          SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                    SPOONEMORE HAMBURGER PLLC
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 12                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 13 of 28




 1   through counsel for the telephonic hearing requested by Plaintiffs, the Court should
 2   strike its Answer and enter a default judgment after class certification.
 3          Should counsel for Aliera appear, the Court should consider the following Motion
 4   for summary judgment on the merits.
 5
     B.     Aliera Sold Illegal Insurance Contracts to Plaintiffs.
 6
            1.       The Healthcare Plans Are Insurance
 7
            Washington defines “insurance” as “a contract whereby one undertakes to
 8
     indemnify another or pay a specified amount upon determinable contingencies.”
 9
     RCW 48.01.040. The healthcare plan sold to the Perrins promise explicitly and implicitly
10
     to pay specified amounts in the event members incur defined medical expenses, and have
11
     the attributes of health insurance policies. That plan meets the definition of “insurance”
12
     under Washington law.
13
            In return for payment of their member contributions, the Member Guide
14
     unambiguously outlined a plan that will pay for determinable healthcare services:
15
                 •   “the plans cover medical services recommended by the USPSTF and
16
                     outlined in the ACA for preventive care.” Exh. F, at 4 (emphasis
17                   added).

18               •   “Telemedicine consultations are free for you and dependents on your
                     plan.” Id., at 9 (emphasis added).
19

20
                 •   “Members have no out-of-pocket expenses for preventive services.,
                     which include, but are not limited to, routine in-network checkups,
21                   pap smears, flu shots and more.” Id., at 11.
22               •   “Aliera and Trinity Members have access to lab work in the
23
                     convenience of their in-network provider’s office or at any lab location
                     nationwide.” Id., at 11.
24
                 •   The plan has a fixed number of covered Urgent Care and Primary
25                   Care visits per year, with co-pays. Id., at 41.
26



                                                                           SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                     SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                     3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 13                      SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                     TEL. (206) 223-0303 FAX (206) 223-0246
               Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 14 of 28




 1
                  •   “X-rays are included, and subject to a $25 per read fee at Urgent Care.”
                      Id., at 12.
 2
                  •   For hospitalization, “[o]nce the MSRA [deductible] has been reached
 3
                      in full, the sharing will then be reimbursed directly back to the
 4                    providers and hospital facilities.” Id., at 15 (emphasis added). See also,
                      Exh. D, at 1 (enrollment form: “Hospitalization, Emergency Room, In-
 5                    Patient, and Out-Patient procedures are covered, once the Member
                      Shared Responsibility Amount has been met.”) (emphasis added)
 6
               The Member Guides provide that:
 7

 8
               Medical costs are shared on a per person per incident basis for illnesses or
               injuries incurring medical expenses after the membership effective date when
 9             medically necessary and provided by or under the direction of licensed
               physicians, osteopaths, urgent care facilities, clinics, emergency rooms, or
10
               hospitals (inpatient and outpatient), or other approved providers.
11
     Exh. F, at 23 (emphasis added).
12
               Aliera represented that it would pay benefits according to the terms of the plan.
13
     Id., at 3 (“Medical needs are only shared by the members according to the membership
14
     guidelines.”) The Member Guide informs the members that all control of the payment of
15
     benefits rests exclusively with Trinity, who is given the “final authority” over payment
16
     decisions. Id., at 22. In reality, all control was delegated to Aliera under the Management
17
     and Administration Agreement. Hamburger Decl., Exh. 2. Aliera’s health plans include
18
     features that “involve[] both risk-shifting and risk-distributing,” the hallmarks of
19
     insurance under Washington law. In re Estate of Smiley, 35 Wn.2d 863, 867, 216 P.2d 212
20
     (1950).
21
               Plan features render the plans indistinguishable from genuine health insurance:
22
                  •   Aliera’s plans are marketed as providing payment benefits for
23                    specified health-related contingencies in exchange for a monthly
                      payment, and the benefit amounts are tied to the amount of the
24
                      monthly premium and cost incurred. Perrin Decl., Exhs. B, C. The
25                    “standard” Premium plan sold to the Perrins is represented as
                      including “physician visits, pharmaceuticals, basic eye and hearing
26                    exams, both in and outpatient procedures, extended hospitalizations,

                                                                             SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                       SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                        3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 14                         SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                        TEL. (206) 223-0303 FAX (206) 223-0246
           Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 15 of 28




 1
                  urgent care needs, labs, and diagnostic procedures. It’s an all-
                  inclusive, affordable healthcare option.” Hamburger Decl., Exh. 10, at
 2                21 of 31.
 3            •   The healthcare plans charge “members” a “monthly contribution”
 4
                  specifically referred to as “premiums.” Exh. 10, at 4 of 31 (“Every
                  month, members send their contributions (premiums) to Trinity …”
 5                See Exh. F, at 18 (describing the requirements for “financial
                  participation”). The premium was required for the member to receive
 6
                  health coverage. Exh F, at 43 (“This membership is issued in
 7                consideration of the Member’s application and the Member’s
                  payment of a monthly fee as provided under these Plans.”); Exh. D
 8                (Perrins’ Enrollment form states the amount of the monthly
 9
                  “Premium”).

10            •   The plans require a member to pay a “Member Shared Responsibility
                  Amount” (“MSRA”), Exh. F, at 21, that is “similar to a deductible.”
11                Exh. 10, at 4 of 31.
12
              •   The amount of contribution (or premium) a member pays is
13                dependent on the amount of the MSRA (or deductible) and the
                  amount of benefits the Plan pays, the age of the member, the number
14                of dependents covered, and whether the member smokes. Exhs. B, C.
15
                  In other words, the more risk to Aliera/Trinity of paying substantial
                  claims, the higher the premium payment for the member.
16
              •   After the MSRA is paid, and if a member is current in paying the
17                monthly “contribution,” medical bills are “eligible for sharing” in
18
                  accordance with a benefits booklet or member guide for the selected
                  program. See e.g., Exh. F, at 15, 36-41.
19
              •   The plans require pre-authorization of certain non-emergency
20                surgeries, procedures, or tests, as well as for certain types of cancer
21
                  treatments. Exh. F, at 32 (“The member must have the following
                  procedures or services pre-authorized as medically necessary prior to
22                receiving the service.”)
23            •   The plans purport to provide coverage for medical expenses,
24
                  including for primary care visits, specialty care visits, hospitalization,
                  emergency room, prescription drugs, labs, preventive care, urgent
25                care, hospice, maternity, and x-rays. Exh. F, at 36-41.
26



                                                                         SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                   SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                    3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 15                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 16 of 28




 1
               •   Claims for payments are submitted by providers on standard
                   insurance billing forms, HCFA1500 or UB 92. Exh. F, at 26. Aliera
 2                 then determines whether and how much will be paid.
 3
               •   The plans purport to use a Preferred Provider network with greater
 4                 benefits provided when a member uses an in-network provider.
                   Exh. F, at 15, 36-41.
 5
               •   Aliera provided an Explanation of Benefits (“EOB”) to the members
 6
                   that looks just like EOBs from health insurers. See Exh. G. Under the
 7                 heading, “Important Information About Your Appeals Rights,” the
                   EOBs warn about insurance fraud and instruct the members to contact
 8                 the Washington Insurance Commissioner’s office if they suspect
                   fraudulent billing. Id.
 9

10             •   Payments for covered eligible medical expenses were made by Aliera
                   directly to providers. Exh. F, at 15 (“Once the MSRA [deductible] has
11                 been reached in full, the sharing will then be reimbursed directly back
                   to the providers and hospital facilities”); Exh. 10, at 5 of 31 (“Your
12
                   doctor sends bills electronically to Trinity … Trinity pays the
13                 shareable amount of medical bills to your healthcare providers, but it
                   will not pay inflated rates.”) Members did not send payments to each
14                 other; rather, Aliera/Trinity paid medical providers directly, just like
15
                   health insurers.
            The plan is an agreement to pay or indemnify based upon “determinable
16
     contingencies.” RCW 48.01.040. As a matter of law, the Aliera healthcare plan sold to
17
     the Perrins is “insurance.”
18
            After a lengthy investigation, the OIC determined that Aliera’s healthcare plans
19
     are “insurance” as defined by RCW 48.01.040. The OIC’s determination is entitled to
20
     great weight. Marquis v. City of Spokane, 130 Wn.2d 97, 111 (1996) (“a court must give great
21
     weight to the statute’s interpretation by the agency which is charged with its
22
     administration …”)
23
            The OIC’s determination was upheld by an Administrative Law Judge after
24
     discovery and an extensive full briefing.       Exh. 9. The ALJ carefully reviewed the
25
     enrollment forms, the fee collected, and the Member Guides, and concluded that they
26



                                                                         SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                   SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                    3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 16                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
               Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 17 of 28




 1   form a contract of insurance. Id., at 17, ¶25. In so concluding, she found that the plans
 2   operate similarly to insurance. In particular, the ALJ noted that the plans offer in-network
 3   providers that are cheaper for members than out-of-network providers, include lists of
 4   exclusions or services not “eligible,” and MSRAs that operate as deductibles. Id., at 16,
 5   ¶21. The ALJ pointed out graphics used by Aliera/Trinity, identical to those found in
 6   insurance plans, that include “network” and “non-network” amounts, with percentages
 7   and dollar amounts for what is “eligible to be shared.” Id., ¶22. See Exhs. C and F, at 36-
 8   41.
 9             The ALJ concluded that offering certain services that are “covered” at “zero
10   expense” to the member, is an explicit promise to pay a specified amount upon a
11   determinable contingency. Exh. 9, at 16, ¶21. She also concluded that there were implicit
12   promises to pay. The fact that the plans laid out in graphic form the specific percentages
13   members will be responsible for, with the remainder “eligible for sharing” made it appear
14   “as if it is what is guaranteed by making a monthly contribution.” Id., at 16-17, ¶22. The
15   plans were offered as providing something – e.g., low-cost alternatives to traditional
16   insurance, or “comprehensive coverage” – in return for purchasing a product, rather than
17   making a charitable donation, which promises nothing in return. Id., at 17, ¶23. Finally,
18   the fact that Aliera/Trinity engage in some risk calculation also contributed to the ALJ’s
19   conclusion that the plans were insurance. Id., at 17, ¶24. As noted above, this decision is
20   now final and has res judicata effect. See In re Marriage of Shortway, 4 Wn. App. 2d 409,
21   422, 423 P.3d 270, 277 (2018).
22             Washington’s OIC is not the only regulator to reach this conclusion. Insurance
23   regulators in at least twelve other states have also found that the Aliera plans qualify as
24   “insurance.” 8 So have multiple federal courts.
25
           8
           Those states include California, Colorado, Connecticut, Iowa, Maryland, Michigan, New York, New
26
     Hampshire, New Jersey, New Mexico, Oregon, and Texas. Orders from those states are collected at
     http://www.symslaw.com/aliera-and-trinity-litigation/stateregulation.
                                                                                SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                          SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                          3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 17                           SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                          TEL. (206) 223-0303 FAX (206) 223-0246
             Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 18 of 28




 1           On June 22, 2021, a federal court in Georgia considered these Aliera plans and
 2   concluded they were insurance. LeCann v. Aliera Cos., No. 1:20-cv-2429-AT, 2021 U.S.
 3   Dist. LEXIS 115827 (N.D. Ga. June 22, 2021). Exhibit 16 is a copy of the Order. Like
 4   Washington’s RCW 48.01.040, the Georgia statue at issue there defines insurance as a
 5   contract “which is an integral part of a plan for distributing individual losses whereby
 6   one undertakes to indemnify another or to pay a specific amount or benefits upon
 7   determinable contingencies.” O.C.G.A. § 33-1-2(4) (emphasis added). The LeCann court
 8   carefully considered the same Member Guides at issue here and found they “clearly
 9   outline a plan to indemnify members or pay certain amounts upon determinable
10   contingencies and distribute losses among members.” Id., at 48. It found that coverage
11   was conditioned on timely payment and that Aliera “distributes losses among members.”
12   Id., at 50. Citing to much of the language from the Member Guides cited above, the court
13   held “[a]ll of this language shows that Aliera has undertaken to pay certain amounts —
14   whether full coverage, 60% after the deductible is met, or the like — upon certain
15   contingencies, i.e., sickness, illness, maternity, etc.” Id., at *54. See also Moeller v. Aliera Cos.,
16   No. CV 20-22-H-SEH, 2021 U.S. Dist. LEXIS 122532, at *8-9 (D. Mont. June 30, 2021) (“The
17   2019 Trinity Member Guide was, notwithstanding disclaimer by Defendants Aliera and
18   Trinity, an insurance contract (plan) under Montana law”).
19           A functionally identical health care sharing programs was also found to be
20   “insurance” in Kentucky.9 Commonwealth v. Reinhold, 325 S.W.3d 272, 273 (Ky. 2010). In
21   that case, the court rejected the sharing entity’s claim that it did not shift the risk of
22   incurring medical charges from its members to itself:
23
             [T]he Medi-Share program fits comfortably within the statutory definition of
24           an insurance contract.

25

26       9See also, Rowden v. Am. Evangelical Assoc., 2007 Mont. Dist. LEXIS 7, *11 (Mont. Dist. Ct., Jan. 2, 2007)
     (holding health sharing plans to be “insurance”).
                                                                                      SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                                SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                                3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 18                                 SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                                TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 19 of 28




 1
                                                  * * *

 2          The “commitment” contract, as previously quoted, obligates Medi-Share
            members to pay their monthly “share” by the first of each month because
 3          their “fellow believers in Christ” rely upon that payment to satisfy their
 4
            medical needs. In return for paying their monthly “share,” Medi-Share
            members remain eligible to receive payment for their medical needs through
 5          the program. This process clearly shifts the risk of payment for medical
            expenses from the individual member to the pool of sub-accounts from which
 6
            his expenses will be paid. Thus, regardless of how Medi-Share defines itself
 7          or what disclaimers it includes in its literature, in the final analysis, there
            is a shifting of risk.
 8
     Reinhold, 325 S.W.3d at 276-77 (emphasis in the original and added).
 9
            2.     The AlieraCare Plans Are Not Exempt from Insurance Regulation
10
            Aliera claims that the Trinity plans it created are exempt from state insurance
11
     regulation under RCW 48.43.009. because Trinity qualified as a “health care sharing
12
     ministry.” That statute provides:
13

14
            Health care sharing ministries are not health carriers as defined in
            RCW 48.43.005 or insurers as defined in RCW 48.01.050. For purposes of this
15          section “health care sharing ministry” has the same meaning as in 26 U.S.C.
            Sec. 5000A.
16

17   The definition of an HCSM in the incorporated federal statute requires, inter alia, that
18   (1) the entity, or its predecessor, to have been “in existence at all times since December 31,
19   1999,” and sharing expenses “continuously and without interruption since at least
20   December 31, 1999;” and (2) that it conduct an annual audit by “an independent certified
21   public accounting firm in accordance with generally accepted accounting principles and
22   which is made available to the public upon request.” 26 U.S.C. § 5000A(d)(2)(B)(ii).
23          It is undisputed that Trinity, which Aliera represented as an HCSM, was not
24   created until June 27, 2018. Dkt. No. 62, p. 18, ¶61. Trinity’s application for 501(c)(3) tax
25   exempt status with the IRS (which Aliera’s attorneys submitted) represented that Trinity
26   had no predecessors. Dkt. No. 22-1, p. 2 and 19 (Part VII.1) of 77. Moreover, it had no

                                                                           SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                     SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                     3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 19                      SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                     TEL. (206) 223-0303 FAX (206) 223-0246
              Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 20 of 28




 1   members when it was created and could not have been “continuously and without
 2   interruption” sharing medical expenses since December 31, 1999. Dkt. No. 62, p. 19, ¶65.
 3   It does not meet a necessary requirement under the federal statute and cannot qualify as
 4   a legitimate HCSM under RCW 48.42.009. See also, Exh. 16 (LeCann Order), at 67 (finding
 5   Trinity did not qualify as an HCSM under the federal statute because it had not been in
 6   existence at all times since December 31, 1999).
 7            Nor can Trinity meet the fifth requirement under the federal statute. It has not
 8   conducted an annual financial audit, or made those audits available to the public. Luria
 9   Decl., ¶12. 10 See also, Exh. 9, at 22, ¶42 (ALJ Decision finding that Trinity has conducted
10   no audits as required by this section).
11
              3.     The Aliera Insurance Plans Were Never Authorized by the
12                   Washington Insurance Commissioner and Are Illegal

13            It is undisputed that neither Aliera nor Trinity was authorized to provide

14   insurance in Washington State. Dkt. No. 63, at 4, ¶9, at 14, ¶42 (Aliera’s answer). It is also

15   undisputed that the plans Aliera and Trinity sold were never reviewed or approved by

16   the OIC. RCW 48.18.100 requires that all insurance policy forms be filed with and

17   approved by the OIC before they are issued, delivered or used. That requirement ensures

18   that all health insurance sold in Washington complies with minimum reserve and

19   solvency requirements, mandatory benefits and standard consumer disclosures. The sale

20   of any unfiled and unauthorized health plan in Washington is illegal. RCW 48.18.100. 11

21

22

23

24

         10 Although Trinity retained a third-party firm to conduct an audit for 2018 (the first six months of its
25
     existence), that firm later withdrew the audit. No audit has since been conducted. Luria Decl., ¶9.
26       11This is not the only Washington insurance law that Aliera violated. See Exh. 9. However, given the
     expedited nature of this Motion, Plaintiffs do not detail each and every Washington insurance law violated.
                                                                                     SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                               SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                                3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 20                                 SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                                TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 21 of 28




 1
            4.     Plaintiffs and the Class Are Entitled to Rescind the Healthcare
                   Plan They Purchased
 2
            Aliera designed, marketed and sold illegal and unauthorized health insurance to
 3
     Washington residents like the Perrins, in violation of Washington law. A contract that is
 4
     contrary to the terms and policy of a statute is illegal and unenforceable. Vedder v.
 5
     Spellman, 78 Wn.2d 834, 837, 480 P.2d 207, 209 (1971). Where enforcement of a contract
 6
     is contrary to public policy, the contract may be null and void.              Scott v. Cingular
 7
     Wireless, 160 Wn.2d 843, 851, 161 P.3d 1000 (2007); Kennedy v. Rode, 41 Wn. App. 177, 181,
 8
     702 P.2d 1240 (1985).
 9
            The remedy for the sale of an illegal insurance plan is either recission or
10
     reformation, at the option of the insured. For example, in Crnkovich v. Columbus Life Ins.,
11
     118 P.3d 153 (Id. 2001), an insurance beneficiary sued his insurance company for
12
     rescission of the policy because the insurer did not possess the certificate of authority
13
     from the state insurance commissioner to issue the policy. Idaho’s highest court found
14
     that the policy may be “void and unenforceable” when the seller has not obtained the
15
     appropriate qualifications to conduct business in the state. Id. at 156. “[A]n insurance
16
     contract sold in Idaho by a company that is not authorized to conduct insurance business
17
     in this state is either enforceable or voidable at the option of the insured or beneficiary.”
18
     Id. (emphasis added).
19
            Similarly, in Mega Life & Health Ins. Co. v. Jacola, 954 S.W.2d 898, 902 (Ark. 1997),
20
     the Arkansas Supreme Court ruled in favor of a class action to resolve a dispute over a
21
     similarly deceptive and unauthorized health plan. See id. at 899. Finding commonality
22
     satisfied for class certification purposes, the Court held:
23
            If these issues are resolved in favor of the class, the individual members will
24
            have suffered a common injury of paying premiums for a void insurance
25          policy. Thus, the class members may be entitled to rescission of the policies
            and a refund of the premiums paid, or coverage for outpatient services.
26



                                                                          SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
                                                                    SPOONEMORE HAMBURGER PLLC
     ENTER DEFAULT JUDGMENT AFTER CLASS CERTIF. OR,                    3101 WESTERN AVENUE, SUITE 350
     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 21                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 22 of 28




 1   Id. at 902. Allowing class members to choose the appropriate remedy makes sense since
 2   some will benefit most by a return of the monthly premiums, while others may benefit
 3   more from payment of their uncovered medical expenses.
 4
                   a.     Recission
 5
            “Generally, rescission contemplates restoration of the parties to as near their
 6
     former position as possible or practical.” GMB Enterprises, Inc. v. B-3 Enterprises, Inc., 39
 7
     Wn. App. 678, 687, 695 P.2d 145 (1985). Rescission of illegal insurance contracts typically
 8
     results in the return of all premiums obtained from the sale of the illegal contract. For
 9
     example, in Forrest Currell Lumber Co. v. Thomas, 464 P.2d 891, 895 (N.M. 1970), the New
10
     Mexico Supreme Court required an insurer to return all the premiums obtained by the
11
     sale of a void insurance policy. “To permit appellee Insurance Company to retain the
12
     [premiums paid on the void insurance policy] would allow it to gain an advantage by its
13
     illegal act. This we cannot do.” Id.; see also, Thomas v. City of Richmond, 79 U.S. 349, 356
14
     (1870) (where the parties to an illegal contract are not in pari delicto, justice requires that
15
     the persons intended to be protected by the law should be able to recover the money or
16
     other consideration paid). Under a recission remedy, class members are entitled to a
17
     refund of the monthly payments they made to Aliera/Trinity.
18
                   b.     Reformation
19
            The Washington Legislature has provided a reformation remedy under RCW
20
     48.18.510. Mut. of Enumclaw Ins. Co. v. Myong Suk Day, 197 Wn. App. 753, 770, 393 P.3d
21
     786, 795 (2017) (“Reformation is an equitable remedy employed to bring a writing that is
22
     materially at variance with the parties' agreement into conformity with that agreement.”)
23
     Reformation typically is accomplished in insurance cases by enjoining a defendant to
24
     reform the plan and then reprocess and pay claims consistent with it. See Wit v. United
25
     Behav. Health, 317 F.R.D. 106, 141 (N.D. Cal. 2016); Z.D. v. Group Health, 2012 U.S. Dist.
26



                                                                           SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 22                       SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                      TEL. (206) 223-0303 FAX (206) 223-0246
               Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 23 of 28




 1   149610, *29 (W.D. Wash., October 17, 2012). Given that both Sharity/Trinity and Aliera
 2   are no longer in business, reformation, in a traditional sense, is impossible.
 3             Nonetheless, the Court may conclude that the gross unpaid medical claims
 4   submitted by Class members to Aliera for payment reflects the aggregate classwide
 5   reformation damages. This amount is $7,277,428.00. See Luria Decl., ¶10. This amount
 6   is an estimate, since there may be medical claims that were never submitted to
 7   Sharity/Aliera such that the estimate is too low; and it is possible that even under a
 8   reformed insurance contract, not all of the unpaid medical expenses would be covered,
 9   such that the estimate is too high. See Hamburger Decl., ¶16. Nonetheless, the Court
10   may utilize its discretion to determine classwide reformation damages, even without a
11   precise dollar amount. V. C. Edwards Contractor Co. v. Port of Tacoma, 7 Wn. App. 883, 889,
12   503 P.2d 1133, 1138 (1972).
13
     C.        Aliera’s Sale of the Healthcare Plans Violated the Washington
14             Consumer Protection Act

15
               Washington’s CPA prohibits “unfair or deceptive acts or practices” in any trade,

16
     including health coverage. RCW 19.86.020. The CPA must be construed “liberally” to

17
     benefit consumers. RCW 19.86.920. To demonstrate a violation of the CPA, Plaintiffs

18
     must show: “(1) an unfair or deceptive act or practice, (2) occurring in trade or commerce,

19
     (3) affecting the public interest, (4) injury to a person’s business or property, and

20
     (5) causation.” Young v. Toyota Motor Sales, U.S.A., 196 Wn.2d 310, 316, 472 P.3d 990, 994

21
     (2020).

22
               The Washington Legislature has concluded that violations of Washington

23
     insurance law are per se violations of the Consumer Protection Act. RCW 19.86.170

24
     (“[A]ctions or transactions prohibited or regulated under the laws administered by the

25
     insurance commissioner shall be subject to the provisions of RCW 19.86.020”).

26
     “Violations of the regulations applicable to the insurance industry … implicate the public


                                                                          SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 23                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 24 of 28




 1   interest and constitute a per se violation of the CPA.” Univ. of Wash. v. Gov't Emps. Ins. Co.,
 2   200 Wn. App. 455, 470 (2017) (brackets in original omitted), quoting Panag v. Farmers Ins.
 3   Co. of Wash., 166 Wn.2d 27, 43 (2009); Indus. Indem. Co. v. Kallevig, 114 Wn.2d 907, 922, 792
 4   P.2d 520 (1990) (“[T]he Legislature expressly provided that violations of the insurance
 5   regulations are subject to the CPA”). Should the Court conclude that Aliera violated
 6   Washington insurance law when it sold the Perrins unauthorized health insurance, it
 7   must also conclude that Aliera’s actions are a per se violations of the CPA. The only
 8   remaining factors to prove as causation and injury. See Indus. Indem. Co., 114 Wn.2d at
 9   923.
10          Regardless of whether the healthcare plan Aliera sold to Plaintiffs is “insurance,”
11   Aliera violated the CPA by representing that medical expenses were “covered” while at
12   the same time skimming the majority of members’ payments to itself, leaving Trinity
13   incapable of “covering” those medical expenses. Aliera misrepresented that at most 40%
14   of members’ payments may go to administrative costs, when in fact at least 70% was used
15   to cover costs or profits, and at most only 30% of members’ payments was actually placed
16   into an account to cover medical expenses. Luria Decl., ¶11. The result was that Aliera’s
17   aggressive fee structure – negotiated with its handpicked Trinity president – assured that
18   many of the members’ medical expenses would never be covered (in addition to Trinity’s
19   ultimate demise and bankruptcy). Acts and practices that are falsely designed to make
20   the public think that a product is safe and reliable are unfair and deceptive. See, e.g., Eifler
21   v. Shurgard Capital Management Corp., 71 Wn. App. 684, 696 (1993) (evidence sufficient to
22   support inference of unfair and deceptive practice when storage facility advertised its
23   safety, while not maintaining a safe facility).
24          Plaintiffs and the proposed class relied upon the representations by Aliera when
25   they purchased the coverage that their plan would be “alternative to” ACA health
26   insurance plans and would pay their medical expenses when needed. See Perrin Decl.,

                                                                            SIRIANNI YOUTZ
     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 24                       SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                      TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 25 of 28




 1   ¶3. The representations by Aliera induced their injury – the monthly premium payments
 2   Aliera received from the Perrins. Id., ¶3; see also Dkt. No. 117, ¶5. But for Aliera’s
 3   misrepresentations, Plaintiffs and proposed class members would not have purchased
 4   the illegal coverage.
 5          There is no question that Aliera’s unfair and deceptive practices affected the public
 6   interest. It sold plans to approximately 3,000 Washington residents. The amount of
 7   unpaid medical claims exceeds $ 7 million. Luria Decl., ¶10. The unfair practices were so
 8   pervasive that the Washington Insurance Commissioner stepped in to stop the sale of the
 9   plans, but not before substantial numbers of Washingtonians, like Plaintiffs, were injured.
10          The loss of the monthly payments is sufficient to demonstrate injury. Panag, 166
11   Wn.2d at 57; Mason v. Mortgage Am., Inc., 114 Wn.2d 842, 854, 792 P.2d 142 (1990) (a
12   plaintiff is injured if their “property interest or money is diminished because of the
13   unlawful conduct even if the expenses caused by the statutory violation are minimal.”).
14   Class members paid over $15 million in monthly payments and fees for the sham health
15   coverage sold by Aliera. All of the elements of a CPA violation are met.
16
     D.     Remedies
17          The damages suffered by Plaintiffs are undisputed. The class paid a total of
18   $15,425,962.00 in monthly payments to Aliera. Luria Decl., ¶9. They are entitled to this
19   amount under a contractual recission remedy. Additionally, Aliera is liable to the
20   Plaintiff Class for the uncovered medical expenses that would have been covered, had
21   Aliera complied with state insurance laws. The total gross unpaid medical claims
22   received by Aliera/Trinity for Washington enrollees is $7,277,428.00. Id., ¶10. These
23   claims should be considered at their full amount, since Aliera is unrepresented and does
24   not dispute the claims.
25          Plaintiffs and the proposed class are also entitled to treble damages up to $25,000
26   per class member pursuant to the CPA, as well as attorney fees and costs to litigate this

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     PLAINTIFFS’ MOTION TO STRIKE ALIERA’S ANSWER AND
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 25                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 26 of 28




 1   dispute. See RCW 19.86.090.       The Court should award treble damages due to the
 2   “ongoing course of conduct affecting thousands of consumers both before and after the
 3   incidents at issue here.” Matheny v. UnumProvident Corp., 594 F. Supp. 2d 1212, 1225 (E.D.
 4   Wash. 2009). The same “strong public interest impact” is present here. See id.
 5
                                        IV. CONCLUSION
 6          The Court should expedite its consideration of this motion, and Plaintiffs’ Motion
 7   for Class Certification with a telephonic hearing. See Motion to Expedite, filed with this
 8   Motion. It should certify the proposed class and, if no counsel appears for Aliera, it
 9   should strike Aliera’s Answer and enter a default judgment.
10          If Aliera retains counsel in this matter, the Court should issue a decision on the
11   merits regarding Plaintiffs’ Motion for Summary Judgment. It should conclude that
12   Defendant Aliera designed, marketed, sold and administered illegal and unauthorized
13   health insurance to Plaintiffs and the Class.
14          The Court should enter a judgment in favor of the Plaintiffs in an amount of
15   $22,703,390.00, reflecting $15,425,962.00 in recission damages, and $7,277,428 in
16   reformation damages. The Court should also assess CPA treble damages of up to $25,000
17   per enrollee. The Court should also direct Plaintiffs’ counsel to petition for attorney fees
18   and litigation costs pursuant to RCW 19.86.090 and Olympic Steamship Co. v. Centennial
19   Ins. Co., 117 Wn.2d 37, 811 P.2d 673 (1991).
20

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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 26                     SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                    TEL. (206) 223-0303 FAX (206) 223-0246
           Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 27 of 28




 1         DATED: October 26, 2021.
 2
                                         SIRIANNI YOUTZ
 3                                       SPOONEMORE HAMBURGER PLLC

 4                                          /s/ Eleanor Hamburger
                                         Richard E. Spoonemore (WSBA #21833)
 5
                                         Eleanor Hamburger (WSBA # 26478)
 6                                       3101 Western Avenue, Suite 350
                                         Seattle, WA 98121
 7                                       Tel. (206) 223-0303; Fax (206) 223-0246
                                         Email: rspoonemore@sylaw.com
 8
                                         Email: ehamburger@sylaw.com
 9
                                         MYERS & COMPANY, PLLC
10                                       Michael David Myers (WSBA #22486)
                                         Samantha Lin (WSBA #50782)
11
                                         1530 Eastlake Avenue East
12                                       Seattle, WA 98102
                                         Tel. (206) 398-1188; Fax (206) 400-1115
13
                                         Email: mmyers@myers-company.com
14                                       Email: slin@myers-company.com

15                                       MEHRI & SKALET, PLLC
                                         Jay Angoff, Pro Hac Vice
16
                                         Cyrus Mehri, Pro Hac Vice
17                                       1250 Connecticut Avenue, NW, Suite 300
                                         Washington, DC 20036
18                                       Tel. (202) 822-5100
19
                                         Email: jangoff@findjustice.com
                                         Email: cmehri@findjustice.com
20
                                         Attorneys for Plaintiffs
21

22

23

24

25

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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 27                SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                               TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:19-cv-01281-BJR Document 153 Filed 10/26/21 Page 28 of 28




                                       CERTIFICATE OF SERVICE
 1
             I hereby certify that on October 26, 2021, I caused the foregoing to be electronically filed
 2   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
     to the following:
 3
            •   Jay Angoff
 4              jangoff@findjustice.com
            •   Curt Roy Hineline
 5              chineline@bakerlaw.com, jmenk@bakerlaw.com, lknox@bakerlaw.com,
                jbaxter@bakerlaw.com
 6
            •   Samantha Lin
                slin@myers-company.com
 7
            •   Cyrus Mehri
 8              cmehri@findjustice.com, pleadings@findjustice.com
            •   James Raymond Morrison
 9              jmorrison@bakerlaw.com, dmadams@bakerlaw.com
            •   Michael David Myers
10              mmyers@myers-company.com, tpak@myers-company.com, pclifford@myers-
                company.com, slin@myers-company.com
11          •   Richard E. Spoonemore
                rspoonemore@sylaw.com, matt@sylaw.com, rspoonemore@hotmail.com,
12              stacy@sylaw.com, theresa@sylaw.com
13          I hereby certify that I have mailed by United States Postal Service the document to the
     following non-CM/ECF participants, as well as electronically mailed to Katie Goodman:
14
            •   The Aliera Companies Inc.
15              Aliera Healthcare, Inc.
                990 Hammond Dr. NE, Suite 700
16              Atlanta, GA 30328
            •   Assignee for The Aliera Companies, Inc., et al.
17              c/o Katie Goodman
                Asset Recovery Associates Aliera, LLC
18              3155 Roswell Road NE, Suite 120
                Atlanta, GA 30305
19              kgoodman@gggpartners.com
20          I hereby certify that I have also electronically mailed the document to the Aliera’s former
     counsel:
21
            •   Robert H. Rutherford, rrutherf@burr.com
22          •   Elizabeth B. Shirley, bshirley@burr.com.

23          DATED: October 26, 2021, at Seattle, Washington.

24                                                     /s/ Eleanor Hamburger
                                                   Eleanor Hamburger (WSBA # 26478)
25                                                 Email: ehamburger@sylaw.com
26



                                                                               SIRIANNI YOUTZ
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     IN THE ALTERNATIVE, MOT. FOR SUMMARY JUDG. – 28                          SEATTLE, WASHINGTON 98121
     [Case No. 2:19-cv-01281-BJR]                                         TEL. (206) 223-0303 FAX (206) 223-0246
